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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     THE UNITED STATES OF AMERICA, ) No. 12-CR-00169MCE
                      Plaintiff,        )
12                                      ) AMENDED STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 12-10-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrison C. England
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18         Plaintiff United States of America, by and through its counsel of record, and
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     defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
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           1.       By previous order, this matter was set for status December 4, 2015.
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           2.       By this stipulation, defendant now moves to continue the status
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     conference until December 10, 2015, and to exclude time between December 4, 2015
24
     and December 10, 2015, under Local Code T4. Plaintiff does not oppose this request.
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           3.       The parties agree and stipulate, and request that the Court find the
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     following:
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           a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
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     in electronic form and many hours of recorded telephone calls. All of this discovery has
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     been either produced directly to counsel and / or made available for inspection and
 4
     copying.
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            b.       Counsel for defendant desires additional time to complete the review of
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     discovery, to conduct defense investigation, and to discuss potential resolution with her
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     client. Counsel has also been continuing to engage in negotiations with the government.
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     In particular, Mr. Robinson has a current pending matter in Solano County that the

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     government and counsel are attempting to negotiate a global resolution. Negotiations

11   with the county prosecutor and the government are ongoing. The parties involved have

12   been working diligently to reach a resolution and are very close. An offer has been

13   extended to Mr. Robinson but there are some minor issues regarding the wording of the
14   state case that must be resolved before a plea may be entered.
15          c.       Counsel for defendant believes that failure to grant the above-requested
16   continuance would deny her the reasonable time necessary for effective preparation,
17   taking into account the exercise of due diligence.
18          d.       The government does not object to the continuance.
19          e.       Based on the above-stated findings, the ends of justice served by
20   continuing the case as requested outweigh the interest of the public and the defendant in
21   a trial within the original date prescribed by the Speedy Trial Act.
22          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
23   § 3161, et seq., within which trial must commence, the time period of December 4, 2015
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     to December 10, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
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     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by
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     the Court at defendant’s request on the basis of the Court's finding that the ends of
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     justice served by taking such action outweigh the best interest of the public and the
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     defendant in a speedy trial.

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           4.     Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 3
     from the period within which a trial must commence.
 4
     IT IS SO STIPULATED.
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 6
     Dated: December 1, 2015                        Respectfully submitted,

 7                                                  /s/ Kelly Babineau
                                                    KELLY BABINEAU
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                                                    Attorney for Eric Robinson
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11   Dated: December 1, 2015                        /s/ Jason Hitt
                                                    JASON HITT
12
                                                    Assistant U.S. Attorney
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14                                         ORDER
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           IT IS SO ORDERED.
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     Dated: December 2, 2015
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